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 9
                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA

11   THERESA SWEET, ALICIA DAVIS, TRESA                Case No.: 19-cv-03674-WHA
     APODACA, CHENELLE ARCHIBALD,
12   DANIEL DEEGAN, SAMUEL HOOD, and
     JESSICA JACOBSON on behalf of themselves
13   and all others similarly situated,                PLAINTIFFS’ MOTION FOR
14                                                     ATTORNEYS’ FEES, COSTS, AND
                    Plaintiffs,                        EXPENSES PURSUANT TO EQUAL
15                                                     ACCESS TO JUSTICE ACT
                    v.
16
     MIGUEL CARDONA, in his official capacity
17
     as Secretary of the United States Department of   (Class Action)
18   Education, and                                    (Administrative Procedure Act Case)

19   THE UNITED STATES DEPARTMENT OF
     EDUCATION,
20
                    Defendants.
21

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                                                                     Plaintiffs’ Motion for Attorneys’ Fees
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 1   I.      INTRODUCTION

 2           The parties in this case entered into a Settlement Agreement on June 22, 2022 (ECF No.

 3   246-1). The Agreement provides, in relevant part, that “[t]o resolve Plaintiffs’ claim for attorneys’

 4   fees, costs, and expenses, Plaintiffs will submit a petition for fees under the Equal Access to Justice

 5   Act, 28 U.S.C. § 2412(d), to the Court.” Id. § VI.A.

 6           Plaintiffs hereby submit this contemplated petition seeking recovery of attorneys’ fees,

 7   costs, and expenses of litigation pursuant to the Equal Access to Justice Act (“EAJA”), for time

 8   reasonably expended by Plaintiffs’ counsel in this matter, in addition to any time spent in

 9   preparation of this motion, as well as any later supplement and reply. 1
10   II.     LEGAL STANDARD

11           The EAJA allows for a prevailing party to recoup reasonable attorneys’ fees from the

12   United States as a partial waiver of sovereign immunity. See Ardestani v. Immigration &

13   Naturalization Serv., 502 U.S. 129, 137 (1991). Congress enacted EAJA to “eliminate financial

14   disincentives for those who would defend against unjustified governmental action and thereby to

15   deter the unreasonable exercise of Government authority.” Ibrahim v. U.S. Dep’t of Homeland

16   Sec., 912 F.3d 1147, 1166 (9th Cir. 2019), cert. denied sub nom. Dep’t of Homeland Sec. v.

17   Ibrahim, 140 S. Ct. 424 (2019) (quoting Ardestani, 502 U.S. at 138).

18           The EAJA provides, inter alia, that “a court shall award to a prevailing party . . . fees and

19   other expenses . . . incurred by that party in any civil action . . . including proceedings for judicial
20   review of agency action, brought by or against the United States . . . , unless the court finds that
21   the position of the United States was substantially justified or that special circumstances make an
22   award unjust.” 28 U.S.C. § 2412(d)(1)(A). In addition, the court may also award a judgment for
23   costs to a prevailing party. Id. § 2412(a).
24
     1
25     The parties are currently engaged in negotiations with respect to fees. See Settlement Agreement
     § VI.C (“Nothing in this Section shall affect the Parties’ ability to attempt to reach a compromise
26   regarding Plaintiffs’ claim for attorneys’ fees, costs, and expenses.”). Plaintiffs will supplement
     this motion within 30 days of either Plaintiffs or Defendants notifying the Court that the parties
27
     are unable to settle the fees issue, or Plaintiffs will withdraw this motion if settlement is reached.
28                                                           1
                                                                           Plaintiffs’ Motion for Attorneys’ Fees
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 1   III.   ARGUMENT

 2              A. Plaintiffs Are the Prevailing Party

 3          Section VI.B of the Settlement Agreement provides: “Defendants agree that Plaintiffs are

 4   the prevailing party in this action for purposes of a fee petition under the Equal Access to Justice

 5   Act.” ECF No. 246-1 § VI.B. Plaintiffs’ status as the prevailing party is therefore conclusively

 6   established.

 7              B. The Government’s Position Was Not Substantially Justified

 8          It is the government’s burden to show that its legal position was substantially justified. See

 9   Ibrahim, 912 F.3d at 1167. This means the government must show not only that its litigation
10   positions were substantially justified, but also that the agency action giving rise to the litigation
11   was substantially justified. See 28 U.S.C. § 2412(d)(2)(D) (the “‘position of the United States’
12   means, in addition to the position taken by the United States in the civil action, the action or failure
13   to act by the agency upon which the civil action is based”); United States v. Marolf, 277 F.3d 1156,

14   1161 (9th Cir. 2002). “The test is an inclusive one; [courts] consider whether the government’s

15   position ‘as a whole’ has ‘a reasonable basis in both law and fact.’” Ibrahim, 912 F.3d at 1168.

16   Even if the matter litigated is one of first impression, it is “one factor in determining whether the

17   government’s litigation position is substantially justified, not as a special circumstance justifying

18   the refusal of an award of fees.” Gutierrez v. Barnhart, 274 F.3d 1255, 1261 (9th Cir. 2001). Where

19   plaintiffs succeed in showing they are the prevailing party, “the burden is on the government to
20   show that its litigation position was substantially justified on the law and the facts.” Ibrahim, 912

21   F.3d at 1167.

22          For reasons explained at length in Plaintiffs’ prior briefing, the Defendants in this case

23   were unreasonable both with regard to their original actions—the decision to stop resolving

24   borrower defense applications, the adoption of the “presumption of denial” policy, and the use of

25   form denial notices—and their defenses in court. See, e.g., Plaintiffs’ Motion for Summary

26   Judgment, ECF No. 245; Plaintiffs’ Response to Court Order Dated Jan. 27, 2022, ECF No. 220;

27   Plaintiffs’ Supplemental Complaint, ECF No. 198; Plaintiffs’ Response to Order to Show Cause,
28                                                          2
                                                                           Plaintiffs’ Motion for Attorneys’ Fees
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 1   ECF No. 149; cf. Order Denying Class Settlement, to Resume Discovery, and to Show Cause, ECF

 2   No. 146.

 3          In addition, there are no special circumstances in this case that make an award of attorneys’

 4   fees inappropriate.

 5          C. The Requested Fees Are Reasonable

 6          The parties are engaged in negotiations on the fee issue, and this is a skeletal filing for later

 7   supplement if necessary. If settlement is not achieved, Plaintiffs will submit detailed

 8   contemporaneous time records demonstrating that the time expended on this case was reasonable.

 9          Plaintiffs’ current estimated fees exceed $800,000, representing 3,500 or more hours of

10   work. This amount of time is facially reasonable given the complexity of the subject matter, the
     long timeline of the litigation, and extensive motions practice. Moreover, “[t]he degree of success
11
     obtained” through the Settlement Agreement indicates that Plaintiffs “achieve[d] a level of success
12
     that makes the hours reasonably expended a satisfactory basis for making a fee award” of the size
13
     Plaintiffs will request. F.J. Vollmer Co. v. Magaw, 102 F.3d 591, 599 (D.C. Cir. 1996) (quoting
14
     Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).
15
            EAJA sets a maximum statutory rate of $125 per hour, 28 U.S.C. § 2412(d)(2)(A), which
16
     may be increased by a Court to account for increases in the cost of living or another special factor,
17
     id. § 2412(d)(2)(A)(ii). District courts determine an appropriate cost of living increase by
18
     “multiplying the $125 statutory rate by the annual average consumer price index figure for all
19
     urban consumers (‘CPI–U’) for the years in which counsel’s work was performed, and then
20
     dividing by the CPI–U figure for March 1996, the effective date of EAJA’s $125 statutory rate.”
21
     Thangaraja v. Gonzales, 428 F.3d 870, 877 (9th Cir. 2005) (citing Sorenson v. Mink, 239 F.3d
22
     1140, 1148 (9th Cir. 2001)).
23
            The CPI-U for the Boston area (applicable to the Project on Predatory Student Lending
24
     (“PPSL”)) in March 1996 was $162.80, and the CPI-U for the San Francisco area (applicable to
25
     Housing & Economic Rights Advocates (“HERA”)) in March 1996 was $152.90. See U.S. Bureau
26
     of    Labor     and    Gov’t     Statistics,   Consumer        Price     Index       Boston-Cambridge-
27
28                                                         3
                                                                            Plaintiffs’ Motion for Attorneys’ Fees
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 1   Newton, https://www.bls.gov/regions/new-england/data/consumerpriceindex_boston_table.htm;

 2   U.S. Bureau of Labor and Gov’t Statistics, Consumer Price Index San Francisco-Oakland-

 3   Hayward, https://data.bls.gov/pdq/SurveyOutputServlet.

 4           Work on this case was performed in each year from 2019 to 2023. The CPI-U for 2023 has

 5   not yet been calculated, so Plaintiffs will apply the 2022 CPI-U numbers to work performed in

 6   2023. The average CPI-U in each year for each area was:

 7                                   2019              2020             2021                2022
 8    Boston                        281.08            284.27           293.52              314.36
 9    San Francisco                 295.00            300.08           309.72              327.06
10

11   Accordingly, using the aforementioned formula, Plaintiffs will request that the following hourly
12   rates be applied to all attorney work expended by PPSL and HERA:
13                                   2019              2020             2021            2022-2023
14    PPSL                          $215.82          $218.27           $225.37             $241.37
15    HERA                          $241.17          $245.32           $253.20             $267.38
16

17           Work done by paralegals is also recoverable under the EAJA, and their work is recoverable
18   at the prevailing market rate. See Richlin Sec. Service Co. v. Chertoff, 553 U.S. 571, 577-78 (2008).
19   Plaintiffs believe a reasonable market rate for the paralegals in this case to be approximately $130
20   per hour for both organizations.
21           Plaintiffs will also ask that reasonable litigation expenses, including travel costs, postage,
22   and reproduction fees be reimbursed. See, e.g., Lozano v. Astrue, No. 06-15935, 2008 WL
23   5875573, at *2 (9th Cir. Sept. 4, 2008) (affirming that “filing fee, reproduction, postage, airfare,
24   and lodging expenses” were coverable expenses under EAJA); Int’l Woodworkers of Am., AFL-
25   CIO, Local 3-98 v. Donovan, 792 F.2d 762, 767 (9th Cir. 1985) (affirming district court’s award
26   of costs for “telephone calls, postage, air courier and attorney travel expenses”).
27
28                                                         4
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 1   V.      CONCLUSION

 2           For the foregoing reasons, and the reasons stated in Plaintiffs’ Motion to Permit Skeletal

 3   Filing of Attorneys’ Fees Petition, Plaintiffs respectfully request that the Court stay further briefing

 4   on this motion and permit Plaintiffs to supplement this motion within 30 days of either Plaintiffs

 5   or Defendants notifying the Court that the parties are unable to settle the fees issue (if a settlement

 6   is not reached). In the event the parties are not able to reach a settlement, Plaintiffs request that the

 7   Court award them attorneys’ fees, costs, and expenses to be further specified in Plaintiffs’

 8   supplemented motion.

 9
10   Dated: February 27, 2023
11                                                   /s/ Rebecca C. Ellis

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                                                                            Plaintiffs’ Motion for Attorneys’ Fees
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